     Case 2:22-cv-07903-RGK-AS Document 23 Filed 04/06/23 Page 1 of 1 Page ID #:73



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 6                                UNITED STATES DISTRICT COURT
 7                              CENTRAL DISTRICT OF CALIFORNIA
 8   GS HOLISTIC, LLC,                                    Case No. 2:22-cv-07903-RGK-ASx
 9                         Plaintiff(s),
                                                          ORDER DISMISSING ACTION FOR
10   vs.                                                  LACK OF PROSECUTION
11   EMF TRADING, INC, ET AL.,
12                         Defendant(s).
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14          On March 10, 2023, the Court issued an Order to Show Cause [18] (“OSC”), which
15   ordered plaintiff to respond in writing by March 17, 2023. On March 13, 2023, plaintiff filed a
16   response [19] to the OSC. On March 16, 2023, the Court issued an order [20] dismissing
17   defendant Alexander and issued a further OSC ordering Plaintiff to file a Motion for Default
18   Judgment as to defendant V.V. Smoke Shop on or before March 30, 2023. To date no such
19   Motion for Default Judgment has been filed. On April 3, 2023, the parties were notified [22]
20   that they were not relieved of any deadlines or Court appearances until a dismissal of the action
21   was filed.
22          The Court finds no good cause and orders the case dismissed for lack of prosecution.
23          IT IS SO ORDERED.
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     Dated: 4/6/2023
25                                                        R. GARY KLAUSNER
                                                          UNITED STATES DISTRICT JUDGE
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